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                            UNITED STATES DISTRJCT COURT
                                                                                         MAY 3 1 701 9
                            WESTERN DISTRJCT OF KENTUCKY
                                    AT LOUISVILLE                                   U.S. DISTRICT COURT
                                                                                  WESTN DIST. KENTUCKY
UNITED STATES OF AMERJCA

                                                               INFORMATION
V.
                                                         NO.    (3: /q ~ if-     q5 .- J /fm
                                                               18 U.S .C.   § 981(a)(l)(C)
JOSEPHINE M. CROWE                                             18 U.S.C.    § 982(a)(2)
                                                               18 U.S.C.    § 1028A(a)(l)
                                                               18 U.S.C.    § 1344
                                                               28 U.S.C.    § 2461

The United States Attorney Charges:

                                           COUNTl
                                  (Financial Institution Fraud)

       1.       Beginning no later than January 2013 , and continuing through on or about

November 22, 2017, in the Western District of Kentucky, Jefferson County, Kentucky, and

elsewhere, JOSEPHINE M. CROWE, the defendant, did knowingly execute and attempt to

execute a scheme and artifice to defraud the Louisville Metro Police Officer's Credit Union (the

"Credit Union"), the deposits of which were then and there insured by the National Credit Union

Share Insurance Fund, and to obtain monies, funds, credits, and assets owned by and under the

custody and control of the Credit Union by means of false and fraudulent pretenses, representations

and promises.

       2.       It was part of the scheme that JOSEPHINE M. CROWE, while employed as .the

Vice President of the Credit Union, stole cash from the Credit Union's vault and teller drawers. In

order to compensate for this depletion of cash, and for the purposes of running the Credit Union' s

daily operations, JOSEPHINE M. CROWE engaged in various deceptive methods to obtain cash,
including (a) instructing Credit Union employees, members, and others to withdraw cash from an

ATM using either a debit card she provided or the individual's personal debit card and return the

cash to her for Credit Union operating needs; (b) obtaining credit card cash advances from

members' credit cards; (c) wire transferring funds to external accounts at various other financial

institutions and then obtaining cash from the transfer; and (d) recording fictitious, unauthorized

loans and using the proceeds of these loans to issue an Official Check, which she directed

individuals to cash at local pawn shops or financial institutions and to return the cash proceeds to

her so that she could then place it in the Credit Union' s vault and teller drawers.

       3.      It was further part of the scheme that JOSEPHINE M. CROWE created hundreds

of fictitious, unauthorized loans by generating fraudulent loan documents and agreements between

the Credit Union and unwitting Credit Union members in order to cover up her theft of cash from

the Credit Union' s vault and teller drawers and to obtain funds owned by and under the custody

and control of the Credit Union. JOSEPHINE M. CROWE further created and used fictitious,

unauthorized loans to generate proceeds that she used to make payments on legitimate loans that

had outstanding balances at the Credit Union without the knowledge of the either the Credit Union

member in whose identity she was creating the fictitious loan or the member for whose benefit the

loan payment was being made.

       4.      It was further part of the scheme that JOSEPHINE M. CROWE engaged in check

kiting in order to conceal her thefts and creation of fraudulent loans at the Credit Union. In the

course of her check kiting activities, the defendant issued unauthorized Official Checks from

certain members ' accounts at the Credit Union and deposited those Official Checks into other

members ' accounts, all without the members' knowledge, and continued issuing new checks to

cover insufficient funds notices on the original checks when she overdrew the members' accounts.



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        5.     It was further part of the scheme that JOSEPHINE M. CROWE, using her

position and access as Vice President, manipulated the books and records of the Credit Union to

conceal her thefts from the Credit Union and make it appear that the fraudulent loan agreements,

related documents, and subsequently-generated loans were legitimate contracts and loans,

including by deleting information from and adding false information to files , by manipulating the

Credit Union's general ledger in various ways such as by performing fictitious cash withdrawals

to lower the general ledger cash balance, and by manipulating members' account statements to

conceal unauthorized changes she had made to the accounts.

        6.     In the course of the scheme, JOSEPHINE M. CROWE misappropriated and

caused the loss of over $3 million to the Credit Union by taking cash from the Credit Union's vault

and teller drawers and by diverting Credit Union funds into bank accounts belonging to herself

and various other individuals using fictitious , unauthorized loans.

        7.     On or about September 15, 2016, for the purpose of executing and attempting to

execute the above-described scheme and artifice to defraud, JOSEPHINE M. CROWE created

a fictitious, unauthorized loan for $100,000 in the name of a member of the Credit Union

("Member 1" ) without the knowledge and consent of Member 1, collateralizing the loan with a

certificate of deposit owned by Member 1. JOSEPHINE M. CROWE then deposited the loan

proceeds, which were funds owned by and under the custody and control of the Credit Union and

then and there insured by the National Credit Union Share Insurance Fund, into an account held

by Member 1 at the Credit Union and, approximately fifteen days later, JOSEPHINE M.

CROWE withdrew the entirety of the $100,000 loan proceeds from the account in the form of

cash.

        In violation of Title 18, United States Code, Section 1344.



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The United States Attorney further charges:

                                           COUNT2
                                    (Aggravated Identity Theft)

        On or about September 15, 2016, in the Western District of Kentucky, Jefferson County,

Kentucky, and elsewhere, JOSEPHINE M. CROWE, the defendant, did knowingly transfer,

possess, and use, without lawful authority, a means of identification of another person, specifically

the name, social security number, and date of birth of Member 1 of the Credit Union, during and

in relation to a felony violation enumerated in Title 18, United States Code, Section 1028A(c),

namely a violation of Title 18, United States Code Section, 1344, as charged in Count 1, knowing

that the means of identification belonged to another actual person.

        In violation of Title 18, United States Code, Section 1028A(a)(l ).



                                    NOTICE OF FORFEITURE

        If convicted of any violation of Title 18, United States Code, Sections 1344 and 1028A, as

alleged in Counts 1 and 2 of this Information, JOSEPHINE M. CROWE, the defendant, shall

forfeit to the United States any property, real or personal, which constitutes or is derived from

proceeds obtained, directly or indirectly, as the result of the violations, and any property used or

intended to be used, in any manner or part, to commit or to facilitate the commission of such

violations.

        Pursuant to Title 18, United States Code, Sections 981(a)(l)(C), 982(a)(2), and Title 28,

United States Code, Section 2461.


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                                              RUSSELL M. COLEMAN
                                              UNITED STATES ATTORNEY
RMC:SMZ

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U ITED STATES OF AMERICA v. JOSEPHINE M. CROWE

                                                            PENALTIES

Count I: NM 30 yrs./$1,000,000/both/NM 3 yrs. Supervised Release
Coun t 2: Man. 2 yrs. Consecuti ve/$25 0,000/both/NM 3 yrs. Supervised Re lease
Forfeiture

                                                               NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.

SPECIAL ASSESSMENTS

18 U.S.C. § 30 13 requires th at a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11 , 1984, as fo llows:

          Misdemeanor:          $ 25 per count/individual                  Felony:         $100 per count/indi vidual
                                $ 125 per count/other                                      $400 per count/other



In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shal l provide the United States Attorney's
Office with a current mailing address fo r the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 357 1, 3572, 3611 , 36 12

Failure to pav fine as ordered mav subject vo u to the following:

           I.   INTEREST and PENALTIES as applicable by law accordi ng to last date of offense.

                     For offenses occurring after December 12, 1987:

                     No INTEREST will accrue on fines under $2,5 00.00.

                     INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                     the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                     fo llowing the two week period after the date a fin e is imposed.

                     PE ALTIES of:

                     I 0% of fin e balance if payment more than 30 days late.

                     15% of fine balance if payment more than 90 days late.

          2.         Recordation of a LIEN shall have the same fo rce and effect as a tax lien.

          3.         Continuous GARNISHMENT may apply until your fine is paid.

          18 U.S.C. §§ 36 12, 36 13

                     If you WILLFULLY refuse to pay your fine, you shall be subj ect to an ADDITIONAL FI E
                     of not more than the greater of$10,000 or twice the unpaid balance of the fine; or
                     IMPRISONME T for not more than I year or both . 18 U.S .C. § 36 15
RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain ai r piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in additi on to, or in li eu of any other penalty authori zed by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fin e is stayed pending appeal , the court shall require:

           I.         That you deposit the entire fine amount ( or the amount due under an installment schedul e
                      during the tim e of your appeal) in an escrow account with the U.S. Distri ct Court Clerk, or

           2.         Give bond for payment thereof.

           18 U.S .C. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S . Distri ct Court Clerk's Office, certi fied checks or money orders should be made payabl e
to the Clerk, U.S. District Court and deli vered to the appropri ate divi sion office listed below:

                      LOUJSVILLE:                      Clerk, U.S. District Court
                                                       106 Gene Snyder U.S. Courthouse
                                                       601 West Broadway
                                                       Louisville, KY 40202
                                                       502/625 -3500

                      BOWLJNG GREE                     Clerk, U.S. District Court
                                                       120 Federal Building
                                                       24 1 East Main Street
                                                       Bowling Green, KY 42 101
                                                       270/393-2500

                      OWENSBORO:                       C lerk, U.S. District Court
                                                       126 Federal B uilding
                                                       423 Frederica
                                                       Owensboro, KY 4230 1
                                                       270/689-4400

                      PADUCAH:                         Clerk, U.S. District Court
                                                       127 Federal Building
                                                       501 Broadway
                                                       Paducah, KY 42001
                                                       270/4 15-6400

If the court finds th at you have the present abi lity to pay, an order may direct impri sonment until payment is made.
